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                     IN THE STATE COURT OF CLAYTON COUNTY
                                STATE OF GEORGIA


RONALD WRIGHT,                               )
                                             )
               Plaintiff,                    )       CIVIL ACTION FILE NO.: 2023CV00526
       v.                                    )
                                             )
EUSEBIO SANCHEZ and COBRA                    )
CARRIER, LLC,                                )
                                             )
               Defendants.                   )

                            ANSWER AND AFFIRMATIVE DEFENSES
                            OF DEFENDANT COBRA CARRIER, LLC

       COMES NOW, Defendant, COBRA CARRIER, LLC, by counsel and for his Answer to

Plaintiff’s First Amended Complaint, state as follows:

                                        FIRST DEFENSE

    The Complaint fails to state a claim or cause of action against this Defendant for which

relief may be granted and therefore this Amended Complaint should be dismissed.

                                      SECOND DEFENSE

    Plaintiff is barred from seeking special damages, which are not specifically plead, pursuant

to O.C.G.A. § 9-11-9(g).

                                       THIRD DEFENSE

    No act or omission on the part of this defendant constitutes negligence and no act or

omission was the proximate cause of any alleged injury to the plaintiff.

                                      FOURTH DEFENSE

    Plaintiff’s injuries and damages, as alleged in Amended Complaint, were not proximately

caused by any act or omission of the Defendant.
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                                        FIFTH DEFENSE

    The occurrence complained of was caused, produced, and brought about directly and

proximately by the negligence of some other person or persons for whom this Defendant was not

responsible and, on account thereof, Plaintiff is not entitled to recover any sum of this Defendant.

                                        SIXTH DEFENSE

    The damages incurred by the Plaintiff, if any, were caused by the comparative and

contributory negligence and actions of the Plaintiff and/or the comparative negligence and

actions of other non-parties.

                                      SEVENTH DEFENSE

   Plaintiff’s recovery is barred and/or reduced by reason of the Plaintiff’s contributory and/or

comparative negligence in the matter set forth in the Plaintiff’s Amended Complaint in that the

Plaintiff failed to exercise ordinary care at all times and at the time and place of the incident

herein complained of the Plaintiff did fail to exercise ordinary care and did proximately cause or

contribute to the occurrence of the incident or injuries or damages, if any. The negligent acts of

the Plaintiff were the sole and proximate cause of the incident in question and, accordingly, the

Plaintiff should be barred from recovery or recovery should be reduced proportionate to the

Plaintiff’s own negligence.

                                       EIGHTH DEFENSE

    No act or omission of this Defendant either proximately caused or contributed to all

damages claimed by the Plaintiff, and on account thereof, Plaintiff is not entitled to recover all

sums demanded of this defendant.
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                                      NINTH DEFENSE

       Defendant responds to each enumerated allegation in Plaintiff’s Amended Complaint as

follows:

                              PARTIES AND JURISDICTION

                                               1.

       Defendant is without sufficient knowledge to admit or deny the allegations.

                                               2.

       Defendant is without sufficient knowledge to admit or deny the allegations.

                                               3.

       Defendant admits the allegations.

                                               4.

       Defendant objects to the allegation as it calls for a legal conclusion. To the extent

Defendant can respond, Defendant is without sufficient knowledge to admit or deny the

allegation.

                                               5.

       Defendant objects to the allegation as it calls for a legal conclusion. To the extent

Defendant can respond, Defendant is without sufficient knowledge to admit or deny the

allegation.
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                                      BACKGROUND

                                               6.

       Responding to Paragraph 6 of Plaintiff’s Amended Complaint, Defendant reiterates and

adopts defenses, responses and contentions contained in Paragraphs 1 through 5 of Defendant’s

Answer to Plaintiff’s Complaint.

                                               7.

       Defendant is without sufficient knowledge to admit or deny the allegations.

                                               8.

       Defendant admits that Eusebio Sanchez was driving a 2000 Peterbilt 379 tractor-trailer in

in Georgia on January 30, 2023. Defendant is without sufficient knowledge to admit or deny the

remaining allegations.

                                               9.

       Defendant is without sufficient knowledge to admit or deny the allegations.

        COUNT I – NEGLIGENCE OF DEFENDANT SANCHEZ ARREDONDO

                                              10.

       Responding to Paragraph 10 of Plaintiff’s Amended Complaint, Defendant reiterates and

adopts defenses, responses and contentions contained in Paragraphs 1 through 9 of Defendant’s

Answer to Plaintiff’s Amended Complaint.

                                              11.

       Defendant admits the allegations.

                                              12.

       Defendant is without sufficient knowledge to admit or deny the allegations
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                                              13.

       Defendant is without sufficient knowledge to admit or deny the allegations.



 COUNT II – NEGLIGENCE ENTRUSTMENT OF DEFENDANT COBRA CARRIER,
                              LLC

                                              14.

       Responding to Paragraph 14 of Plaintiff’s Amended Complaint, Defendant reiterates and

adopts defenses, responses and contentions contained in Paragraphs 1 through 13 of Defendant’s

Answer to Plaintiff’s Amended Complaint.



                                              15.

       Defendant denies the allegations.

                                              16.

       Defendant objects to the allegation as it calls for a legal conclusion. To the extent

Defendant can respond, Defendant denies the allegations.

    COUNT III – IMPUTED LIABILITY OF DEFENDANT COBRA CARRIER, LLC

                                              17.

       Responding to Paragraph 17 of Plaintiff’s Amended Complaint, Defendant reiterates and

adopts defenses, responses and contentions contained in Paragraphs 1 through 16 of Defendant’s

Answer to Plaintiff’s Amended Complaint.

                                              18.

       Defendant Eusebio Sanchez, at the time of the incident, was under dispatch for Cobra

Carrier, LLC. All other matters are denied.
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                                               19.

       Defendant admits the allegations.

                                               20.

       Defendant denies the allegations as Defendant, Eusebio Sanchez, is not an employee of

Cobra Carrier, LLC but an independent contractor. Defendant, Eusebio Sanchez, was acting

within the scope of his engagement.

                                               21.

       Defendant objects to the allegation as it calls for a legal conclusion and does not require a

response.

                                               22.

       Defendant denies the allegations.

       COUNT IV – NEGLIGENT HIRING, TRAINING, AND SUPERVISION OF
                    DEFENDANT COBRA COARRIER, LLC

                                               23.

       Responding to Paragraph 23 of Plaintiff’s Amended Complaint, Defendant reiterates and

adopts defenses, responses and contentions contained in Paragraphs 1 through 22 of Defendant’s

Answer to Plaintiff’s Amended Complaint.

                                               24.

       Defendant denies the allegations.

                                               25.

       Defendant denies the allegations.

                                               26.

       Defendant denies the allegations.
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                                              27.

       Defendant denies the allegations.

                                              28.

       Defendant objects to the allegation as it calls for a legal conclusion. To the extent that

Defendant can respond Defendant denies the allegations.

         COUNT VI – ATTORNEYS’ FEES AND EXPENSES OF LITIGATION

                                              29.

       Responding to Paragraph 29 of Plaintiff’s Amended Complaint, Defendant reiterates and

adopts defenses, responses and contentions contained in Paragraphs 1 through 28 of Defendant’s

Answer to Plaintiff’s Amended Complaint.

                                              30.

       Defendant denies the allegations.

                                              31.

       Defendant denies the allegations.

                           COUNT VII – PUNITIVE DAMAGES

                                              32.

       Responding to Paragraph 32 of Plaintiff’s Amended Complaint, Defendant reiterates and

adopts defenses, responses and contentions contained in Paragraphs 1 through 31 of Defendant’s

Answer to Plaintiff’s Amended Complaint.

                                              33.

       Defendant denies the allegations.

                                      TENTH DEFENSE

       All allegations not heretofore responded to are hereby expressly denied.
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       While Plaintiff’s prayer requires no response, Defendant denies that Plaintiff is entitled to

any recovery.

       WHEREFORE, having fully answered, Defendant requests that this Amended Complaint

be dismissed and that all cost be taxed upon the Plaintiff.

       Respectfully submitted, this 18th day of May, 2023.

                                                  FAIN, MAJOR & BRENNAN, P.C.

                                                  /s/ Robyn M. Roth
                                                  ROBYN M. ROTH
One Premier Plaza                                 Georgia Bar No. 153025
5605 Glenridge Drive NE, Suite 900                Counsel for Defendants Sanchez Arredondo and
Atlanta, GA 30342                                 Cobra Carrier, LLC
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                     IN THE STATE COURT OF CLAYTON COUNTY
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RONALD WRIGHT,                                )
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               Plaintiff,                     )          CIVIL ACTION FILE NO.: 2023CV00526
       v.                                     )
                                              )
EUSEBIO SANCHEZ and COBRA                     )
CARRIER, LLC,                                 )
                                              )
               Defendants.                    )

                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing Answer and Affirmative

Defenses of Defendant Cobra Carrier, LLC to Plaintiff’s First Amended Complaint with the

Clerk of Court using Odyssey eFileGA which will automatically send e-mail notification of such

filing to all parties of record and/or by depositing a copy of same with the United States Postal

Service, with first class postage prepaid, as follows:

                                      Edward Hardrick, Esq.
                                    Morgan & Morgan, PLLC
                                   178 S. Main Street, Unit 300
                                      Alpharetta, GA 30009
                                   ehardrick@forthepeople.com

       Respectfully submitted, this 18th day of May, 2023.

                                                  FAIN, MAJOR & BRENNAN, P.C.

                                                  /s/ Robyn M. Roth
                                                  ROBYN M. ROTH
One Premier Plaza                                 Georgia Bar No. 153025
5605 Glenridge Drive NE, Suite 900                Counsel for Defendants Sanchez Arredondo and
Atlanta, GA 30342                                 Cobra Carrier, LLC
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